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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

United States,


                 Plaintiff,
v.                                                    Case No. 11-cr-20752

D-1, Orlando Gordon, et al.,                          Sean F. Cox
                                                      District Court Judge

            Defendants.
_____________________________/

                          OPINION AND ORDER
           DENYING DEFENDANT ORLANDO GORDON’S MOTION FOR
    RECONSIDERATION OF ORDER ISSUED JANUARY 29, 2013, STRIKING AS
  UNTIMELY DEFENDANT ORLANDO GORDON’S REPLY BRIEF (TRACKING N0.
 207) IN SUPPORT OF MOTION TO SUPPRESS PHYSICAL EVIDENCE PURPOSELY
      SEIZED ON FEBRUARY 11, 2008, ALLEGEDLY PURSUANT TO A SEARCH
 WARRANT WHICH WAS EXECUTED AT 31020 McKINNEY DRIVE, FRANKLIN, MI.
                          (TRACKING NO. 164.)

       On January 31, 2013, Defendant Orlando Gordon filed his Motion for Reconsideration

[Docket No. 284], requesting that this Court reconsider its “Text-Only Order” issued on January 29,

2013, striking as untimely his Reply Brief [Docket No. 271] filed in support of his Motion to

Suppress Physical Evidence Purposely Seized on February 11, 2008, Allegedly Pursuant to a Search

Warrant which was Executed at 31020 McKinney Drive, Franklin, MI [Docket No. 164].

       Eastern District of Michigan, Local Criminal Rule 12.1(a) provides that “[m]otions in a

criminal case shall be filed in accordance with the procedures set forth in LR 7.1.” Eastern District

of Michigan, Local Criminal Rule 12.1(a).

       Eastern District of Michigan, Local Rule 7.1(e)(1) states:

       (e) Briefing Schedule.

                                                 1
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               (1) Dispositive Motions.

                          (A)   Dispositive motions are motions: . . .

                                       to suppress evidence in a criminal case, . . .

                          (B)   A response to a dispositive motion must be filed within 21
                                days after service of the motion.

                          (C)   If filed, a reply brief supporting a dispositive motion must be
                                filed within 14 days after service of the response, but not less
                                than 3 days before oral argument.

Eastern District of Michigan, Local Rule 7.1(e)(1).

       Furthermore, Local Rule 7.1(d)(3)(B) states:

       (d) Briefs . . .

               (3) Length of Briefs . . .

                          (B)   The text of a reply brief, including footnotes and signatures,
                                may not exceed 5 pages.

Eastern District of Michigan, Local Rule 7.1(d)(3)(B).

       On November 19, 2012, Defendant Gordon filed his Motion to Suppress Physical Evidence

Purposely Seized on February 11, 2008. (Docket No. 164.) The Government filed its response on

November 30, 2012. (Docket No. 223.) On January 29, 2013, Gordon untimely filed his reply,

nearly two month after the Government filed its response. Thus, Defendant Gordon violated Local

Criminal Rule 12.1 and Local Rule 7.1(e)(1)(C).

       Furthermore, Gordon’s reply is nine pages in length, which is in violation of Eastern District

of Michigan, Local Rule 7.1(d)(3)(B).

       Finally, Gordon never sought leave of the Court to file his untimely reply brief, and he did

not seek leave of the Court file a reply brief in excess of five pages.


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      IT IS ORDERED that Defendant Gordon’s Motion for Reconsideration [Docket No. 284]

is DENIED.

      IT IS SO ORDERED.

                                         S/Sean F. Cox
                                         Sean F. Cox
                                         United States District Judge

Dated: February 1, 2013

I hereby certify that a copy of the foregoing document was served upon counsel of record on
February 1, 2013, by electronic and/or ordinary mail.

                           S/Jennifer McCoy
                           Case Manager




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